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11
                          UNITED STATES BANKRUPTCY COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                   LOS ANGELES DIVISION
14
      In re:                                       Case No. 2:24-bk-11409-SK
15
               AGTJ13, LLC,                        Chapter 11
16
                         Debtor.
17
18
      In re:                                       Case No. 2:24-bk-11412-SK
19
               AGTJ13, Manager LLC,                Chapter 11
20
                         Debtor.                   NOTICE OF MOTION OF CPIF
21                                                 CALIFORNIA, LLC FOR THE
                                                   APPOINTMENT OF A CHAPTER 11
22                                                 TRUSTEE
23                                                 Date: April 10, 2024
24                                                 Time: 9:00 a.m.
                                                   Place: Courtroom 1575
25                                                        255 E. Temple Street
26                                                        Los Angeles, CA 90012

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28
                          NOTICE OF MOTION OF CPIF CALIFORNIA, LLC FOR
                           THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                              Case Nos. 2:24-bk-11409-SK; 2:24-bk-11412-SK
     24090495 v2
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 1                            NOTICE OF HEARING ON MOTION
 2           TO    THE    HONORABLE          SANDRA       R.   KLEIN,     UNITED      STATES
 3 BANKRUPTCY JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE
 4 AND ALL PARTIES INTEREST:
 5           NOTICE IS HEREBY GIVEN that on April 10, 2024, at 9:00 a.m., in Courtroom
 6 1575 of the United States Bankruptcy Court for the Central District of California, located
 7 at 255 E. Temple Street, Los Angeles, CA 90012, a hearing will be held on the motion (the
 8 “Motion”) of CPIF California, LLC (the “Lender”) for an order appointing a Chapter 11
 9 Trustee pursuant to 11 U.S.C. § 1104(a).
10           The Motion is brought on the grounds that the Debtors’ principal, Lafayette Jackson
11 Sharp, has refused to work with the major stakeholders in this case, opting instead to divert
12 monies for the benefit of insiders, incur purported insider debt in violation of the loan
13 agreement with the Lender, refuse to provide the Lender with operating budgets so that
14 funds can be released to maintain the Debtors’ property, and is intimidating and threatening
15 tenants. Given the ongoing waste occurring at the Debtors’ property and the potential
16 claims the estates hold against Mr. Sharp, management must be vested in a responsible and
17 independent fiduciary to ensure that funds are handled appropriately, that the assets of the
18 estate are properly maintained and/or prosecuted (including potential fraudulent transfer
19 and preference claims against Mr. Sharp), and that the bankruptcy estate is otherwise
20 administered without diminishing or impairing the Lender’s rights and interests in its own
21 property (i.e., the rents from the property, which the Lender submits are not property of the
22 bankruptcy estate) and its collateral. Ample cause exists to appoint a Chapter 11 trustee,
23 and doing so would also be in the best interest of creditors.
24           NOTICE IS FURTHER GIVEN that the Motion, the accompanying Memorandum
25 of Points and Authorities, the Declaration of Roberts Shields, and any other admissible
26 evidence properly brought before the Court.
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28                                                2
                            NOTICE OF MOTION OF CPIF CALIFORNIA, LLC FOR
                             THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                                Case No. 2:24-bk-11409-SK; 2:24-bk-11412-SK
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1            NOTICE IS FURTHER GIVEN that the Motion is being heard on regular notice
2 pursuant to LBR 9013-1. If you wish to oppose this Motion, you must file a written
3 response with the court and serve a copy of it upon the Movant or Movant’s attorney at the
4 address set forth above no less than fourteen (14) days prior to the above hearing date. If
5 you fail to file a written response to this Motion within such time period, the court may
6 treat such failure as a waiver of your right to oppose the Motion and may grant the
7 requested relief.
8 Dated: March 11, 2024
9
                                BENESCH, FRIEDLANDER, COPLAN & ARONOFF
10
                                LLP
11
12
                                By:
13                                        /s/ Krista M. Enns
                                          KRISTA M. ENNS, Cal Bar No. 206430
14                                        ANTONIA STABILE, Cal. Bar No. 329559
15                                        MICHAEL J. BARRIE (pro hac vice
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17                                        forthcoming)
18                                        Attorneys for CPIF California, LLC
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                          NOTICE OF MOTION OF CPIF CALIFORNIA, LLC FOR
                           THE APPOINTMENT OF A CHAPTER 11 TRUSTEE
                              Case No. 2:24-bk-11409-SK; 2:24-bk-11412-SK
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